Case 1:23-cr-00257-JRR Document 85 Filed 10/19/23 Page 1 of1
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IN THE UNITED STATES DISTRICT COURT OCT 1 9 2023
FOR THE DISTRICT OF MARYLAND curr AT SATIMORE err
DISTRICT OF MARYLAND
UNITED STATES OF AMERICA . ey cease
*
Vv. * CRIMINAL NO. _23 cr-0257-JRR

*
SEAN REIDPATH SULLIVAN, *
LARRY ALLEN VICKERS, *
JAMES CHRISTOPHER TAFOYA, .
MATTHEW JEREMY HALL, and *
JAMES SAWYER, *
*
Defendants. *

RKKKK EK

MOTION TO UNSEAL INDICTMENT

The United States of America, by and through its undersigned attorneys, hereby moves this
Honorable Court for an Order unsealing the Indictment in the above-captioned matter. The
investigation and other matters have progressed to a point where the justifications for sealing the
Indictment and this case are no longer applicable.

Respectfully submitted,

Erek L. Barron
United States Attorney

October 19, 2023 /
Date . Michael Cunningham
Christine Goo
Assistant United States’ Attorneys

ORDERED as prayed, this _| oriay of October, KE

Honbrable Matthew+-Meddex— A dam B. Abelson
United States Magistrate Judge

